                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                        at WINCHESTER

 UNITED STATES OF AMERICA                      )
                                               )
 v.                                            )       Case No. 4:10-CR-17
                                               )
 SELENA GRAMMER                                )       MATTICE/CARTER




                                   REPORT AND RECOMMENDATION

         Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on September 2,

 2010. At the hearing, defendant entered a plea of guilty to the lesser included offense in Count

 One of the Indictment, conspiracy to manufacture, possess with intent to distribute and distribute

 five (5) grams of methamphetamine (actual) and fifty (50) grams or more of a mixture and

 substance containing a detectable amount of methamphetamine, a Schedule II controlled

 substance, in violation of 21 U.S.C. §§ 846, 841(a)(1) and 841(b)(1)(B) and Count Three

 Hundred Fourteen, in exchange for the undertakings made by the government in the written plea

 agreement. On the basis of the record made at the hearing, I find that the defendant is fully

 capable and competent to enter an informed plea; that the plea is made knowingly and with full

 understanding of each of the rights waived by defendant; that it is made voluntarily and free

 from any force, threats, or promises, apart from the promises in the plea agreement; that the

 defendant understands the nature of the charge and penalties provided by law; and that the plea

 has a sufficient basis in fact.

         I therefore recommend that defendant's plea of guilty to the lesser included offense in

 Count One of the Indictment and Count Three Hundred Fourteen of the Indictment be accepted,

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Case 4:10-cr-00017-TRM-CHS             Document 243      Filed 09/02/10      Page 1 of 2      PageID
                                             #: 624
 that the Court adjudicate defendant guilty of the charges set forth in the lesser included offense

 in Count One of the Indictment and Count Three Hundred Fourteen of the Indictment, and that

 the written plea agreement be accepted at the time of sentencing. I further recommend that

 defendant remain in custody until sentencing in this matter. Acceptance of the plea, adjudication

 of guilt, acceptance of the plea agreement, and imposition of sentence are specifically reserved

 for the district judge.

         The defendant’s sentencing date is scheduled for Monday, February 28, 2011, at 9:00

 am.



                                               s/William B. Mitchell Carter
                                               UNITED STATES MAGISTRATE JUDGE




                                      NOTICE TO PARTIES

         You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or
 proceedings objected to, and must be filed and served no later than fourteen days after the plea
 hearing. Failure to file objections within fourteen days constitutes a waiver of any further right
 to challenge the plea of guilty in this matter. See 28 U.S.C. §636(b).




                                                  2



Case 4:10-cr-00017-TRM-CHS            Document 243        Filed 09/02/10      Page 2 of 2     PageID
                                            #: 625
